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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )              Case No. 8:04CR511
                                               )
                      Plaintiff,               )
                                               )
       v.                                      )                      ORDER
                                               )
DEJUAN J. LEONARD,                             )
                                               )
                      Defendant.               )


       IT IS ORDERED that a change of plea for the defendant, Dejuan J. Leonard, is scheduled

before the undersigned in Courtroom No. 3, Roman L. Hruska U.S. Courthouse, 111 South 18th

Plaza, Omaha, Nebraska, on August 15, 2005, at 10:00 a.m. Since this is a criminal case, the

defendant shall be present, unless excused by the court. If an interpreter is required, one must be

requested by the plaintiff in writing five (5) days in advance of the scheduled hearing.

       DATED this 9th day of August, 2005.

                                               BY THE COURT:




                                               s/ Joseph F. Bataillon
                                               JOSEPH F. BATAILLON
                                               United States District Judge
